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 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                              CASE NO. CV F 07-1080 LJO GSA
12                           Plaintiff,                           ORDER ON SUMMARY JUDGMENT
                                                                  BRIEFING AND TO VACATE HEARING
13          vs.
14   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES,
15   INC., et al,
16                           Defendants.
                                                      /
17
     AND RELATED CROSS-ACTION.
18
     ___________________________________/
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20          Defendants Northern California Universal Enterprises Company, Inc. (“NCUE”), Lotus
21   Developments, L.P. (“Lotus”) and City of Wasco (“Wasco”) responded to this Court’s order to show
22   cause why sanctions should not be imposed for exceeding the page limit for points and authorities set
23   by this Court’s standing order.1 Counsel for NCUE and Lotus noted that he had forgotten about the page
24   limit. Counsel for Wasco noted that she did not know of the page limit.
25          NCUE, Lotus and Wasco have burdened this Court with verbose, somewhat disorganized papers
26   seeking summary judgment on plaintiff Roger McIntosh’s (“Mr. McIntosh’s”) copyright infringement
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                    W asco’s counsel filed her response after the Court’s deadline.

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 1   claims. NCUE, Lotus and Wasco’s papers include numerous extraneous matters to require this Court’s
 2   inordinate time and effort to decipher. On the basis of good cause, this Court:
 3            1.        ORDERS Mr. McIntosh, no later than October 21, 2009, to file and serve his papers to
 4                      oppose NCUE, Lotus and Wasco’s summary judgment motions;
 5            2.        PROHIBITS NCUE, Lotus and Wasco to file or serve reply papers on any kind2 for their
 6                      summary judgment motions, including Wasco’s summary judgment on its
 7                      indemnification/reimbursement claims;
 8            3.        LIMITS NCUE/Lotus and Wasco to 20 pages for their respective points and authorities
 9                      to oppose Mr. McIntosh’s partial summary adjudication motion;
10            4.        ORDERS NCUE, no later than October 19, 2009, to file and serve its papers to oppose
11                      Wasco’s summary judgment motion on its indemnification/reimbursement claims; and
12            5.        VACATES the October 28, 2009 hearing on all pending summary judgment/adjudication
13                      motions.
14            This Court’s practice is to consider motions on the record without oral argument. If this Court
15   requires oral argument or further briefing, it will so order.
16            IT IS SO ORDERED.
17   Dated:        October 5, 2009                             /s/ Lawrence J. O'Neill
     66h44d                                                UNITED STATES DISTRICT JUDGE
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                        This prohibition applies to points and authorities, declarations, statement of undisputed material facts,
28   objections, etc.

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